                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                             Civil Case No.: 5:18-cv-325

STEPHEN JEFFREY PRICE,                 )
                                       )
                     Plaintiff,        )
                                       )
      v.                               )              DEMAND FOR JURY TRIAL
                                       )
FLOLOGIC, INC.,                        )
                                       )
                     Defendant.        )
_______________________________________)


                                          COMPLAINT

       Plaintiff Stephen Jeffrey Price, for his complaint against FloLogic, Inc. (“FloLogic”)

alleges as follows:

                                         THE PARTIES

       1.      Plaintiff resides in Casper, Wyoming.

       2.      Upon information and belief, Defendant FloLogic is a North Carolina corporation

organized under the laws of the State of North Carolina, with its principal place of business at

1015 Aviation Parkway, Raleigh, North Carolina 27560.

                              NATURE OF THE ACTION

       3.      This is an action for patent infringement of U.S. Patent No. 5,971,011 (“the ’011

Patent”) in violation of the United States patent laws, 35 U.S.C. § 100, et seq.

                                JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over the patent claim pursuant to 28

U.S.C. §§ 1331 and 1338(a).




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       5.       This Court has personal jurisdiction over FloLogic at least because FloLogic has

committed acts of patent infringement within the State of North Carolina and this Judicial

District in violation of 35 U.S.C. § 271, FloLogic transacts business within the State of North

Carolina and this Judicial District, and FloLogic solicits customers in the State of North Carolina

and this Judicial District. In short, FloLogic has purposely availed itself of the privileges and

benefits of the laws of the State of North Carolina, and FloLogic derives benefits from its

presence in this Judicial District. Upon information and belief, FloLogic also derives revenue

from infringing products offered for sale, sold and used within this Judicial District, and should

reasonably expect its actions to have consequences within this Judicial District.

       6.       Moreover, FloLogic is subject to specific personal jurisdiction in this case

because at least part of Plaintiff’s claims arise from FloLogic’s activities in the State of North

Carolina and this Judicial District.

       7.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391(b), 1391

(c) and 1400(b).

                                   FACTUAL BACKGROUND

       8.       Plaintiff is the owner of all right, title, and interest in the ’011 Patent entitled

“Water Shut-Off and Leak Detection System.”

       9.       The application leading to the ’011 Patent was filed on February 21, 1998.

       10.      The ’011 Patent was duly and properly issued by the United States Patent and

Trademark Office on October 26 1999. The patent expired on February 21, 2018. A true and

correct copy of the ’011 Patent is attached hereto as Exhibit A.

       11.      FloLogic currently offers for sale the System 3.5 (“Accused Device”).

       12.      The System 3.5 is a water shut-off and leak detection system.


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       13.      The Accused Device is intended to be installed at or near the water intake pipe of

a building or residence. The Accused Device monitors the flow of water, and is capable of

shutting off the water to the building or residence if a leak is detected.

       14.      On April 23, 2002, the United States Patent and Trademark Office issued U.S.

Patent No. 6,374,864 (“the ‘846 Patent”). The ‘846 Patent is assigned to FloLogic. On

information and belief, the inventions claimed in the ‘846 Patent are included in the Accused

Device. During prosecution of the patent application that led to the ‘846 Patent, the Examiner

cited the ‘011 Patent as prior art against that application.

                                FIRST CAUSE OF ACTION
                          (INFRINGEMENT OF THE ’011 PATENT)

       15.      Plaintiff restates and realleges the allegations set forth in paragraphs 1 through 14

above and incorporates them by reference.

       16.      Upon information and belief, FloLogic has infringed and continues to infringe,

either literally or under the doctrine of equivalents, at least Claim 1 of the ’011 Patent in

violation of 35 U.S.C. § 271(a) by making, using, offering for sale or selling within the United

States the Accused Device and/or by importing into the United States the Accused Device.

       17.      Upon information and belief, FloLogic has also infringed and continues to

infringe at least Claim 1 of the ’011 Patent in violation of 35 U.S.C. § 271(b) by inducing

vendors, customers and/or others to make, use, sell, and/or offer for sale within the United States,

products or processes that practice inventions of the ’011 Patent with knowledge of and intent

that such vendors, customers and/or others infringe the ’011 Patent. FloLogic has intentionally

caused, urged, encouraged, or aided in the action that induced infringement, including direct

infringement, of the ’011 Patent by vendors, customers, and/or others. Upon information and

belief, such intentional action includes, for example, inducing customers to infringe the ’011
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Patent by advertising features of the infringing products that meet the elements of Claim 1. As a

result of its conduct, FloLogic has induced and is inducing such vendors, customers and/or others

to make or use systems such as the Accused Device, to infringe at least Claim 1 of the ’011

Patent. Additionally and in the alternative, FloLogic has induced and is inducing vendors,

customers and/or others to implement and utilize parts of or all of the systems and methods of

the Accused Devices to infringe at least Claim 1 of the ’011 Patent. FloLogic has engaged and is

engaging in this conduct while aware of the ’011 Patent and with the intent to infringe, at least as

of the filing of the Complaint.

       18.      Claim 1 recites: “[a] water shut-off and leak detection system for use with a

conduit . . . .” FloLogic’s User Manual for the Accused Device touts the device as “[t]he circuit

breaker for every plumbing system.” The cover of the User Manual states “INTELLIGENT

LEAK DETECTION AND WATER CONSERVATIONTM.” According to the User Manual,

“[w]hen flow is detected that exceeds the preset timer intervals, the water is turned off, an

audible alarm is sounded and the Control Panel displays the message ‘LEAK.”

       19.      Claim 1 further recites: “a microprocessor including a program memory and an

alterable data memory . . . .” Based on present information, the Accused Device includes a

microprocessor including program memory and an alterable data memory. For example, the

User Manual for the Accused Device includes the following diagram indicating the existence of

a microprocessor including a program memory and an alterable data memory:




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       20.      Claim 1 further recites: “an elapsed time clock coupled to said microprocessor,

said elapsed time clock adapted to be reset by said microprocessor . . . .” The User Manual for

the Accused Device includes the following statements indicating that the Accused Device

includes an elapsed time clock coupled to said microprocessor, said elapsed time clock adapted

to be reset by said microprocessor:




       21.      Claim 1 further recites: “a primary setting consisting of a predetermined quantity

of water and a predetermined period of elapsed time, said primary setting supplied to said

microprocessor . . . .” The Accused Device includes a primary setting consisting of a

predetermined quantity of water and a predetermined period of elapsed time, said primary setting

supplied to said microprocessor. For example, FloLogic’s website

(http://www.flologic.com/FAQ.html) states the following:
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       Once these patterns were understood, we decided our best direction would be to monitor

       minutes of uninterrupted water flowing into the premises beginning at the lowest flow

       rate we could detect, 0.5 oz/minute (1 tablespoon) because even a small leak, over time,

       can cause as much damage as a larger leak. So, once the water begins flowing into your

       home, and a flow rate is established, we initiate a timer inside the software that times

       minutes of uninterrupted water flowing into your home. The default parameters

       embedded in the software state in the Home mode if the water runs uninterrupted for a

       period of thirty-minutes, for whatever reason, the water gets shut off. In the Away mode,

       if the water runs uninterrupted for a period of thirty-seconds, the water gets shut off.

       Every time the water is shut off, the timer resets. Simple!

Also, the User Manual for the Accused Device includes the following statements:




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       22.      Claim 1 further recites: “a valve adapted to be disposed intermediate said conduit,

said valve including a first position adapted to permit the flow of water therein to occur and a

second position adapted to prevent the flow of water therein, and including means for electrically

connecting said microprocessor to said valve, said means for electrically connecting including

means for urging said valve from said first position to said second position in response to a

control signal from said microprocessor . . . .” The Accused Device includes a valve adapted to

be disposed intermediate said conduit, said valve including a first position adapted to permit the

flow of water therein to occur and a second position adapted to prevent the flow of water therein,

and including means for electrically connecting said microprocessor to said valve. Based on

present information, said means for electrically connecting includes means for urging said valve

from said first position to said second position in response to a control signal from said

microprocessor, either literally or under the doctrine of equivalents. For example, the FloLogic

Homeowner Flyer for the Accused Device includes the following statements:




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Also, the User Manual for the Accused Device includes the following statements and figures:




       23.      Claim 1 further recites: “a flowmeter operably attached to said valve, said

flowmeter adapted to provide a continuous indication of the rate of fluid flow to said

microprocessor; wherein said control signal is generated by said microprocessor in response to a

continuous flow of water exceeding said predetermined quantity of water within said

predetermined period of time . . . .” The Accused Device includes a flowmeter operably attached

to said valve and adapted to provide a continuous indication of the rate of fluid flow to said

microprocessor. Also, the control signal is generated by said microprocessor in response to a

continuous flow of water exceeding said predetermined quantity of water within said



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predetermined period of time. For example, the User Manual for the Accused Device includes

the following statements:




       24.      Claim 1 further recites: “wherein said elapsed time clock is reset to zero to begin

accumulating anew subsequent to accumulating a duration of time equal to said predetermined

period of time during a continuous flow of water that has not exceeded said predetermined

quantity of water within said predetermined period of time and correspondingly, said quantity of

fluid flow is reset to zero to begin accumulating anew when said elapsed time clock is reset to

zero.” The elapsed time clock of the Accused Device is reset to zero to begin accumulating

anew subsequent to accumulating a duration of time equal to said predetermined period of time

during a continuous flow of water that has not exceeded said predetermined quantity of water

within said predetermined period of time and correspondingly, said quantity of fluid flow is reset


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to zero to begin accumulating anew when said elapsed time clock is reset to zero. For example,

the User Manual for the Accused Device includes the following statements:




       25.      Plaintiff has been damaged by FloLogic’s infringement of the ’011 Patent.

       26.      Upon information and belief, the infringement of one or more claims of the ’011

Patent by FloLogic was willful and deliberate. As a result, Plainitff is entitled to increased

damages under 35 U.S.C. § 284 and to attorney fees and costs incurred in prosecuting this action

under 35 U.S.C. § 285.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment:

       A.       that FloLogic has infringed the ’011 Patent;

       B.       awarding Plaintiff compensatory damages for FloLogic direct and indirect

infringement of the patent-in-suit, in an amount to be ascertained at trial, including at least a

reasonable royalty and/or Plaintiff’s lost profits, together with interest and costs pursuant to 35

U.S.C. § 284;

       C.       trebling the amount of compensatory damages for patent infringement pursuant to

35 U.S.C. § 284;

       D.       awarding Plaintiff reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;

       E.       granting Plaintiff such other and further relief in law or in equity as this Court

deems just or proper.
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                                DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable.

DATED: June 29, 2018                          Respectfully submitted,

                                              /s/ John F. Ward
                                              John F. Ward
                                              NJ Bar No. 057751993
                                              Email: jward@kelleydrye.com
                                              David G. Lindenbaum
                                              Email: dlindenbaum@kelleydrye.com
                                              NJ Bar No. 029392000
                                              KELLEY DRYE & WARREN LLP
                                              101 Park Avenue
                                              New York, New York 10178
                                              Phone: (212) 808-7800
                                              Fax:     (973) 503-5950
                                              Attorneys for Plaintiff Stephen Jeffrey Price

                                              /s/ Melanie Black Dubis
                                              Melanie Black Dubis
                                              N.C. Bar No. 22027
                                              PARKER POE ADAMS & BERNSTEIN LLP
                                              301 Fayetteville Street, Suite 1400
                                              Raleigh, North Carolina 27601
                                              Phone: (919) 828-0564
                                              Email: melaniedubis@parkerpoe.com
                                              Local 83.1 Counsel for Plaintiff




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